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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                   www.flsb.uscourts.gov


IN RE:                                                               CHAPTER 11

IT’SUGAR FLORIDA 1 LLC, et al.,                                      Case No.: 20-20259-RAM
                                                                     (Jointly Administered)
                                                                     Case No.: 20-20261-RAM
            Debtors.                                                 Case No.: 20-20263-RAM
______________________________/                                      Case No.: 20-20264-RAM


               APPOINTMENT AND NOTICE OF APPOINTMENT OF JOINT
              COMMITTEE OF CREDITORS HOLDING UNSECURED CLAIMS
                      IN THE JOINTLY ADMINISTERED CASES

          Pursuant to 11 U.S.C. Section 1102(a), the United States Trustee hereby appoints
the following creditors to serve on the joint committee of creditors holding unsecured
claims:
                                        SEE EXHIBIT "A"
                                          ATTACHED
        I certify that a true and correct copy of the APPOINTMENT AND NOTICE OF
APPOINTMENT OF JOINT COMMITTEE OF CREDITORS HOLDING UNSECURED
CLAIMS was served by first-class U. S. Mail upon the members of the committee as appointed
on Exhibit A. Electronically through CM/ECF, on parties having appeared electronically in the
instant matter and to: All parties on the attached service list on this the 20th day of October 2020.

                                                     Nancy J. Gargula
                                                     United States Trustee
                                                     Region 21

                                                     By: /s/ Steven D. Schneiderman
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                                            EXHIBIT “A”



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                                          SERVICE LIST


The following is the list of parties who are currently on the list to receive email notice/service for
this case.

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